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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 HELEN DOWDY                                     §
                                                 §
       Plaintiff,                                §
                                                 §
 vs.                                             §
                                                 §     CIVIL ACTION NO.:
 TITAN FITNESS LLC, a/k/a TITAN                  §     JURY TRIAL DEMANDED
 FITNESS, INC. d/b/a FITNESS                     §
 CONNECTION BAYTOWN                              §
                                                 §
   Defendant.                                    §


                                    NOTICE OF REMOVAL

       TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN
DISTRICT OF TEXAS, HOUSTON DIVISION:

          COMES NOW, TITAN FITNESS LLC a/k/a FITNESS CONNECTION, INC. d/b/a

FITNESS CONNECTION BAYTOWN (hereinafter “Defendant”) and files this its Notice of

Removal, pursuant to 28 U.S.C. §§ 1441 and 1446, removing the above-captioned case to the

United States District Court for the Southern District of Texas, Houston Division. The grounds for

removal are as follows:

                          I. PROCEDURAL REQUIREMENTS FOR REMOVAL

          Upon filing of this Notice of Removal of the cause, Defendant gave written notice of the

filing to Plaintiff and his counsel as required by law. A copy of this Notice is also being filed with

the Clerk of the Court in Harris County, Texas, where this cause was originally filed. A copy of

all processes, pleadings, and orders are attached hereto as EXHIBITS A-E.




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          This removal is timely filed, as it was filed within 30 days when Defendant was served

through service or otherwise with Plaintiff’s Original Petition on July 14, 2018.



                                     II. NATURE OF THE LAWSUIT

          On June 29, 2018, Plaintiff Helen Dowdy commenced an action in the 151st Judicial

District Court of Harris County, Texas, captioned “Cause No. 201843827; Helen Dowdy v. Titan

Fitness LLC a/k/a Fitness Connection, Inc. d/b/a Fitness Connection Baytown.” Plaintiff sought

personal injury damages resulting from an incident that occurred on or about July 5, 2016 (the

“Incident”) at or near Fitness Connection Baytown which is located at 5035 Garth Road, Baytown,

Texas 77251 in Harris County, Texas in which Plaintiff fell from a treadmill while exercising.1

          The causes of actions claimed in Plaintiff’s Original Petition are negligence against

Defendant under a theory of premises liability for (a) failure to maintain the premises, including

the treadmill, in a reasonably safe condition, (b) failing to maintain its workout equipment, (c)

failing to inspect its equipment to determine if the treadmill was working properly, (d) failing to

inspect the premises where the dangerous condition existed, (e) failure to inform Plaintiff of the

dangerous condition existing on the premises, and (f) other acts deemed negligent. Plaintiff’s

Original Petition included a jury demand.

          The state court action is one over which this Court has original jurisdiction under the

provisions of 28 U.S.C. § 1332, and may be removed to this Court pursuant to the provisions of

28 U.S.C. § 1441, in that it is a civil action wherein the matter in controversy exceeds the sum or




1
    See Exhibit C: Plaintiff’s Original Petition.
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value of $75,000, exclusive of interest and costs, and diversity of citizenship exists between the

properly joined parties.

                                            III. VENUE

       This is a statutorily proper venue under the provisions of 28 U.S.C. § 1441(a) because this

district and division embrace the county where the removed action was pending.

                           IV. JURISDICTIONAL BASIS FOR REMOVAL

       Pursuant to 28 U.S.C. § 1332(a)(1), federal district courts have original jurisdiction of civil

actions in which the parties are citizens of different states, and the amount in controversy exceeds

$75,000.

       A.      Amount in Controversy Exceeds $75,000

       Here, it is facially apparent from Plaintiff’s Original Petition that the damages in this suit

are likely to exceed $75,000. In her Original Petition, Plaintiff claims that she was “seriously

injured.”2 Plaintiff alleges she suffered damages as a result of the Incident, including past and

future medical expenses; past and future physical pain and suffering; past and future mental

anguish; past and future physical disfigurement; and pre-and post-judgment interest.3

       In addition, Plaintiff’s Original Petition seeks “monetary relief of not more than $125,000

including damages of any kind.”4 Under 28 U.S.C. §1446(c)(2), Plaintiff’s demand for relief of

not more than $125,000 shall be deemed the amount in controversy. Therefore, under its

preponderance of the evidence standard, Defendant has established that it is facially apparent that

the amount in controversy is likely to exceed $75,000.


2
  See Exhibit C at ¶ 12.
3
  See id. at ¶ 2.
4
  Id.
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       B.      Diversity of Citizenship

       According to her Original Petition, Plaintiff Helen Dowdy is a resident of Harris County,

Texas at the time suit was commenced.5

       For purposes of diversity, the citizenship of an LLC is determined by the citizenship of all

of its members.6

       At the time of filing this action, the time of removal, and all times since, and currently,

Titan Fitness LLC a/k/a Fitness Connection, Inc. d/b/a Fitness Connection Baytown’s members

are and were citizens of Virginia. Furthermore, Titan Fitness LLC a/k/a Fitness Connection, Inc.

d/b/a Fitness Connection Baytown is a Virginia limited liability company with its principal place

of business in Virginia.

       Accordingly, there is complete diversity of citizenship between Plaintiff and the properly

joined Defendant. See 28 U.S.C. §§ 1332, 1441.

       The citizenship of the parties as alleged above existed at the time the underlying action was

commenced and remain unchanged at the time of removal.

                                   V. CONSENT TO REMOVAL

       All defendants who have been properly joined and served in the suit must join the notice

of removal or consent to the removal.7 In this case, Titan Fitness LLC a/k/a Fitness Connection,

Inc. d/b/a Fitness Connection Baytown is the only named Defendant. Therefore no additional

consent is required.


5
  See id. at ¶ 2.
6
  Harvey v. Grey Wolf Drilling, 542 F.3d 1077, 1080‐81 (5th Cir. 2008).
7
  28 U.S.C. §1446(b)(2)(A).
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                                         VI. CONCLUSION

       Defendant has established, by a preponderance of the evidence, that the amount in

controversy exceeds $75,000.00. Additionally, Defendant has established that diversity of

citizenship exists between the properly joined parties in this case. Therefore, the Court should find

that removal was proper in this case.

       WHEREFORE, Titan Fitness LLC a/k/a Fitness Connection, Inc. d/b/a Fitness Connection

Baytown pursuant to these statutes and in conformance with the requirements set forth in 28

U.S.C.A. §1446, removes this action for trial from the 151st Judicial District Court of Harris

County, Texas, be removed therefrom to this Honorable Court to this Court.

                                              Respectfully submitted,

                                              BUSH & RAMIREZ, PLLC


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                                                      CONNECTION BAYTOWN




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing instrument has been sent to all interested
counsel of record in accordance with the FEDERAL RULES OF CIVIL PROCEDURE on this 7 TH day of
August, 2018.


                                                  /s/ J. Taylor Elliott__________
                                                   Patrick N. Smith
                                                   J. Taylor Elliott




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